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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )    Case No. 4:05CR3138
                            Plaintiff,           )
                                                 )
v.                                               )
                                                 )          ORDER
EMANUEL CARLOS CAMACHO,                          )
RANDY A. KNAUB,                                  )
JEFFREY LEONARD ROMERO,                          )
                                                  )
                            Defendant.            )

       THIS MATTER comes before the Court on defendant Randy Knaub’s

Unopposed Motion to Continue Trial, filing 60. Being fully advised in the premises, and

noting that the government has no objection to the same, this Court finds that said

motion should be granted.

       IT IS THEREFORE ORDERED that the trial, as to the above defendants,

presently scheduled for April 3, 2006, shall be continued until June 12, 2006, at 9:00

a.m. The defendant is ordered to appear at said time.

       IT IS FURTHER ORDERED that based upon the showing set forth in

defendant’s motion, the ends of justice will be served by continuing the trial. Further,

that taking such action outweighs the best interests of the public and the defendants in

a speedy trial. Accordingly, the date from March 17, 2006, until the date now

scheduled for trial shall be excludable time pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 17th day of March, 2006.

                                          BY THE COURT
                                          s/   David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
